                            IN THE UNITED STATES DISTRICT COURT 

                           FOR THE EASTERN DISTRICT OF TENNESSEE 

                                    WINCHESTER DIVISION 


       DENNIE HILL,                                           )
                                                              )
                                Pl.aintiff,                   )
                                                              )
       vs.                                                    )
                                                              )
                                                              )
       HEARTLAND CROP INSURANCE, INC.,                        )
                                                              )
                                Defendant.                    )

       --------------------------------)
                                         NOTICE OF REMOVAL

                 Pursuant to 28 U.S.C. §§1441 AND 1446, the Defendant,

       HEARTLAND CROP INSURANCE, INC.                   ("HEARTLAND")! hereby removes

       this action, with reservation of all de                            , from the Circuit

       Court of                     County, Tennessee, Winchester Division.

       Subject matter j              sdiction is based upon 28 U.S.C. §1332(a).

       As grounds for removal, HEARTLAND would show as follows:

                 1.    The             ff, DENNIE HILL, commenced this action on

       October 23, 2012, in the Circuit Court of Franklin County,

       Tennessee, said action being designated                                  Court as Case

       No.: 2012-CV-18898.

                 2.   As reflected in his State Court Complaint l a copy of which

       is attached                    the Plaintiff seeks                     in excess of

       $400,000.00 bases upon the alleged denial of a federal crop

       insurance claim.



       l   Heartland was improperly named in the Complaint as "Heartland Crop Insurance Co."




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               3.    The Plaintiff is a citizen of Franklin County,

       Tennessee.

               4.   HEARTLAND is a Kansas corporation with its principal

       place        business located in Shawnee County, Kansas, and thus,

       for jurisdiction purposes, is deemed to be a citizen of Kansas.

               5. Therefore, this is an action "between ... citizens of

       different states"           purposes of 28 U.S.C. §1332(a).       That

       is, the        intiff is a citizen of Tennessee and the Defendant

       is a c       izen of Kansas.

               6.   Moreover, as shown in paragraph 2, and as further

       reflected in the state court Compla         , the plaintiff is seeking

       actual damages in excess of $400,000.00.          Consequently, the

       amount        controversy       early exceeds $75,000.00, exclus

       of             s and costs, as required under 28 U.S.C. §1332(a).

               7.   HEARTLAND was served with a copy of            Plaintiff's

       Compla        (along with a state court summons) via     s registered

       agent in Tennessee, National Regi            Agents, Inc., on October

       26, 2012. Pursuant to 28 U.S.C. §1446(b), "not              of removal

       of a civil action or proceeding shall be filed within thirty

       days a       r the rece        by the Defendant, through service or

       otherwise, of a copy of the initial pleading setting forth the

       claim         relief upon which such act     or proceeding is based,

       .... " In consideration of the foregoing, this Not            Removal,

       which is being filed within 30 days a             receipt      the

       Compla        filed by HEARTLAND, is timely.




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             8.   As required by 28 U.S.      c,   §1446(d), copies of this

       Notice of Removal have been forwarded to the PIa              iff's counsel

       of record and the Clerk of the Circuit Court of Franklin County,

       Tennessee.

             9.   Copies of      Summons and Complaint are attached as

       composite Exhibit A to this Notice of Removal.                 A certified

       copy of       state court file in connection with this action

       has been requested and will be made a part of the record here

            WHEREFORE, for the reasons set forth above, HEARTLAND gives

       notice of its removal of this action to this Court as provided

      by law.

            Date: November    ~I~ ,   2012.

                                         I.

                                                              .submitted;


                                          BY:~~~~-=~_________________
                                                              O'NEAL
                                                      . Jefferson St.
                                                        Box 555
                                                   Winchester, TN 37398
                                                   (931) 967-9496
                                                   BPR 5617

                                          BENKE-BUFKIN, P.A.


                                          BY:      ~Qn~~
                                                ~~M=I~C=H~A-E~L~D=.~S~T~EV~-E-N-S-------
                                                   1223 East Jackson Avenue
                                                   Suite 201
                                                   P.O. Box 1124
                                                   Oxford, MS 38655




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                              CERTIFICATE OF SERVICE


               I hereby certify that a true and exact copy   the foregoing
          Defendant Heartland Crop Insurance, Inc.' s Answer to Compla
          has been mailed to Mr. Floyd Don DaVJ s, DAVIS, KESSLER & DAVIS,
          P.O. Box 626, Winchester, TN 37398 his the ~\~ day of
          November, 2012.


                                                          . O'NEAL




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